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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
             Plaintiff,

                       v.                               Criminal Case. No.: 21-CR-330 (JEB)



 JONATHAN J. MUNAFO,
             Defendant.



                                   JOINT STATUS REPORT

       The parties jointly report the following.

       On October 26, 2022, Mr. Munafo was sentenced to 24 months in Western District of

Michigan Case No. 21-CR-99 (JTN). The District of Michigan court ordered the U.S. Marshals to

transfer him to the District of Columbia “forthwith.” Id. ECF No. 74, p. 2. Mr. Munafo remains at

Newyago County Jail in Michigan awaiting transfer.

       The parties jointly request that this Court continue this case for sixty days from today, until

Friday, January 13, 2023. Should circumstances change significantly before then, the parties will

advise the Court. During this time, the parties request that Speedy Trial Act time be tolled.

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       RESPECTFULLY SUBMITTED.

       Date: November 14, 2022

For the United States:                             For Jonathan Munafo:

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* I CERTIFY that I ECF-filed this Status Report,
notifying all parties.




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